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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                               June 23, 2017
                IN THE UNITED STATES DISTRICT COURT
                                                                            David J. Bradley, Clerk
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

UNITED STATES OF AMERICA §
                         §
vs.                      §                           CR. NO. 16-CR-0126
                         §
MARIA VILLA              §

                                      ORDER

      The defendant's unopposed motion to allow her daughter, Grace Rojo, to visit

her at the hospital while in U.S. Marshal custody is hereby GRANTED. The Court

orders the following:

      The United States Marshal Service is directed to allow the defendant's

daughter, Grace Rojo to visit the defendant at the hospital while in U.S. Marshal

custody. The visit will be no longer than 25 minutes.

      This order and authorization to visit the defendant is for one visit on a specific

date and specified time determined and agreed upon by the defendant's attorney,

Gerardo S. Montalvo and officials with the United States Marshal Service.


      SIGNED at Houston, Texas, on            ~ ).3                      ,2017.



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                                              LEE H. ROSENTHAL
                                        UNITED STATES DISTRICT JUDGE
